                                  UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TENNESSEE

   JAMES DELLINGER,                                    )
                                                       )
                   Petitioner,                         )
                                                       )
   v.                                                  )       No.:    3:09-CV-104-TAV-DCP
                                                       )
   TONY MAYS,                                          )
                                                       )
                   Respondent.                         )


                                                  ORDER

           On October 27, 2021, counsel for Petitioner filed a Notice of Parties’ Conference in

   Petitioner’s related noncapital case. [See Case No. 3:09-CV-404-TAV-DCP, Doc. 193].

   In the notice, Petitioner’s attorneys indicate that, on October 22, 2021, they met with and

   informed Respondent’s counsel that they intend to file a motion in state court under the

   newly revised Tennessee Code Annotated § 39-13-203.1 [Id. at 2]. Petitioner’s attorneys

   maintain that Tennessee law “now permits Petitioner a hearing and potential remedy,”

   which they state Petitioner was unable to obtain in state court due to procedural obstacles.2


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             See Act of May 11, 2021, ch. 399, § 2, 2021 Tenn. Pub. Laws (amending Tennessee Code
   Annotated § 39-13-203 by adding subsection (g)(1), allowing “[a] defendant who has been
   sentenced to the death penalty prior to the effective date of this act and whose conviction is final
   on direct review” to “petition the trial court for a determination of whether the defendant is
   intellectually disabled”).
           2
             In their notice, counsel for Petitioner also remind the Court that it previously stayed this
   capital case pending exhaustion of Petitioner’s claim under Atkins v. Virginia, 536 U.S. 304 (2002),
   in state court. [Case No. 3:09-CV-404-TAV-DCP, Doc. 193 at 2]. In addition to staying
   Petitioner’s case, the Court ordered Petitioner to file status reports on his proceedings in state court.
   [Case No. 3:09-CV-104-TAV-DCP, Doc. 116 at 3]. Petitioner’s final status report indicates that
   the Tennessee courts “refus[ed] to provide” Petitioner with a procedural vehicle to adjudicate his
   intellectual disability claim. [See Case No. 3:09-CV-00104-TAV-DCP, Doc. 229]; see also



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   [Id. (citing Dellinger v. State, No. E2018-00135-CCA-R3-ECN, 2019 WL 1754701, at *6

   (Tenn. Crim. App. Apr. 17, 2019) (affirming the trial court’s dismissal of Petitioner’s

   petition without evidentiary hearing, as “Petitioner has no available state procedure to

   present his claim of intellectual disability”)].

          Petitioner’s attorneys further state that they “anticipate that the state court petition

   for relief from the [Petitioner’s] sentence of death due to intellectual disability will be filed

   within a month” and that this ensuing litigation will culminate in a hearing in state court,

   involving multiple expert witnesses, in 2022.             [Case No. 3:09-CV-404-TAV-DCP,

   Doc. 193 at 2]. Accordingly, Petitioner is ORDERED, within ninety (90) days of the entry

   of this Order and every ninety (90) days thereafter, to file a status report in which he

   apprises the Court of the progress of the ancillary proceedings in state court.

          ENTER:


                                         s/ Thomas A. Varlan
                                         UNITED STATES DISTRICT JUDGE




   Dellinger v. State, E2013-02094-CCA-R3-ECN, 2015 WL 4931576, at *1 (Tenn. Crim. App. Aug.
   18, 2015) (affirming trial court’s judgment denying Petitioner’s petition for a writ of coram nobis,
   petition for a writ of audita querela, and motion for declaratory judgment regarding his intellectual
   disability claim), perm app. denied (Tenn. May 6, 2016); Dellinger v. State, E2013-02079-CCA-
   R28-PD (Tenn. Crim. App. Jan. 16, 2014) (denying Petitioner’s application for permission to
   appeal trial court’s denial of his motion to reopen post-conviction proceedings), perm. app. denied
   (Tenn. May 15, 2014).
                                                      2


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